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                                      Presentment Date: November 29, 2021, at 10:00 a.m. (E.T.)
                                      Objection Deadline: November 24, 2021, at 4:00 p.m. (E.T.)


Andrew K. Glenn
Shai Schmidt
Rich Ramirez
Naznen Rahman
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Counsel to the Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                  ) Chapter 11
 In re:                                           )
                                                  ) Case No. 21-10529 (SHL)
 NINETY-FIVE MADISON COMPANY, L.P.,               )
                                                  )
                                                  )
                        Debtor.                   )
                                                  )


    NOTICE OF PRESENTMENT OF STIPULATION BY AND AMONG DEBTOR
   AND DANIELLE C. LESSER REGARDING TERMINATION OF RECEIVERSHIP
                      AND ALLOWANCE OF CLAIMS

          PLEASE TAKE NOTICE that on the date hereof, Ninety-Five Madison Company, L.P.

(the “Debtor”), the debtor and debtor in possession in this Chapter 11 case, submitted the

Stipulation by and among Debtor and Danielle C. Lesser Regarding Termination of Receivership

and Allowance of Claims (the “Stipulation”), attached hereto as Exhibit A.

          PLEASE TAKE FURTHER NOTICE that the Stipulation will be presented to the

Honorable Sean H. Lane, United States Bankruptcy Judge for the Southern District of New York

(the “Court”), for signature on November 29, 2021, at 10:00 a.m. (E.T.).
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       PLEASE TAKE FURTHER NOTICE that any responses or objections to the Stipulation

shall: (a) be in writing; (b) conform to the Federal Rules of Bankruptcy Procedure, the Local

Bankruptcy Rules for the Southern District of New York and all General Orders applicable to

Chapter 11 cases in this Court; (c) be filed with the Clerk of the Court in accordance with the

customary practices of the Court and General Order M-399 (with a courtesy copy delivered to the

Chambers of the Honorable Sean H. Lane, United States Bankruptcy Judge); and (d) be served

upon and received by (i) counsel to the Debtors, Glenn Agre Bergman & Fuentes LLP, 55 Hudson

Yards, 20th Floor, New York, NY 10001 (Attn: Andrew K. Glenn, Shai Schmidt, Rich Ramirez

and Naznen Rahman); (ii) the Office of the United States Trustee for Region 2, 201 Varick Street,

Suite 1006, New York, New York 10014 (Attn: Richard Morrissey, Esq.); (iii) any party that has

requested notice pursuant to Bankruptcy Rule 2002; and (iv) any other party-in-interest entitled to

notice of this Stipulation, in accordance with General Order M-399, no later than November 24,

2021, at 4:00 p.m. (E.T.) (the “Objection Deadline”).

       PLEASE TAKE FURTHER NOTICE that if no objection is filed and served by the

Objection Deadline, there will be no hearing and the relief requested in the Stipulation may be

granted.

       PLEASE TAKE FURTHER NOTICE that if an objection is filed and served by the

Objection Deadline, a hearing (the “Hearing”) will be held to consider the Stipulation before the

Honorable Sean H. Lane, United States Bankruptcy Judge. The Court will notify the moving and

objecting parties of the date and time of the Hearing.

       PLEASE TAKE FURTHER NOTICE that in light of the Court’s General Order M-543

(“General Order M-543”), dated March 20, 2020, the Hearing will only be conducted

telephonically. Parties wishing to participate in the Hearing must make arrangements through



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CourtSolutions LLC. Instructions to register for CourtSolutions LLC are attached to General

Order M-543.

       PLEASE TAKE FURTHER NOTICE that the Stipulation has been filed electronically

with the Clerk of the Court and may be reviewed by all registered users of the Court’s website at:

http://www.nysb.uscourts.gov.

Dated: November 18, 2021
New York, New York

                                         NINETY-FIVE MADISON COMPANY, L.P.,
                                         Debtor and Debtor-in-Possession

                                         By: /s/ Rich Ramirez ___
                                         Andrew K. Glenn
                                         Shai Schmidt
                                         Rich Ramirez
                                         Naznen Rahman
                                         GLENN AGRE BERGMAN & FUENTES LLP
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                                         Counsel to the Debtor




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                                   EXHIBIT A
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                                         Presentment Date: November 29, 2021, at 10:00 a.m. (E.T.)
                                         Objection Deadline: November 24, 2021, at 4:00 p.m. (E.T.)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      ) Chapter 11
 In re:                                               )
                                                      ) Case No. 21-10529 (SHL)
 NINETY-FIVE MADISON COMPANY, L.P.,                   )
                                                      )
                         Debtor.                      )
                                                      )


    STIPULATION BY AND AMONG DEBTOR AND DANIELLE C. LESSER
REGARDING TERMINATION OF RECEIVERSHIP AND ALLOWANCE OF CLAIMS

          This stipulation and agreed order (the “Stipulation”) is made as of November 18, 2021, by

and among Ninety-Five Madison Company, L.P. (the “Debtor”), the debtor in the above-captioned

Chapter 11 case (the “Chapter 11 Case”), and Danielle C. Lesser (the “Receiver” and, together

with the Debtor, the “Parties”), concerning the pre-petition receivership of certain of the Debtor’s

assets (the “Receivership”). The Parties hereby stipulate and agree as follows:

                                               Recitals

          A.     The Debtor and its tenant, Vitra, Inc. (“Vitra”) were parties to a state court

proceeding captioned Vitra, Inc. v. Ninety-Five Madison Company, L.P., in the Supreme Court of

the State of New York, County of New York, Index No. 652342/2017 (the “New York State Court

Case”).

          B.     The Debtor and Vitra were also parties to an arbitration proceeding captioned Vitra,

Inc. v. Ninety-Five Madison Company, L.P., JAMS No. 1425024190 (the “Arbitration”). As part

of the Arbitration and pursuant to the Amended Fifth Interim Award dated August 7, 2019,

Arbitrator Stephen Crane appointed the Receiver to perform all the Debtor’s obligations,

responsibilities, and prerogatives as landlord pursuant to the Debtor’s lease with Vitra.

          C.     On March 22, 2021 (the “Petition Date”), the Debtor filed with this Court a
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voluntary petition (the “Petition”) for relief under chapter 11 of title 11 of the United States Code,

11 U.S.C. § 101, et seq. (the “Bankruptcy Code”) commencing the Chapter 11 Case.

       D.      Upon the filing of the Petition, the Receiver’s services to the estate ceased pursuant

to Section 543 of the Bankruptcy Code.

       E.      On April 15, 2021, the Receiver filed Proof of Claim No. 3 (“Claim No. 3”) seeking

$199,494.34 in connection with a pre-petition judgment against the Debtor. The Receiver assigned

the judgment to Vitra pursuant to that certain Assignment of Judgment dated as of May 27, 2021.

The amount of the judgment, including interest accrued through the Petition Date, has been

asserted by Vitra in Proof of Claim No. 4 (the “Vitra Claim”)

       F.      On July 20, 2021, the Receiver filed Proof of Claim No. 8 (“Claim No. 8”) seeking

$34,504.69 for pre-petition services performed by the Receiver in connection with the New York

State Court Case and the Arbitration.

       G.      On August 18, 2021, the Debtor filed the Objection Pursuant to 11 U.S.C. § 502

and Rule 3007 of the Federal Rules of Bankruptcy Procedure to Claims Asserted by Danielle C.

Lesser [Dkt. No. 65].

       H.      On September 12, 2021, the Debtor filed a Chapter 11 plan of reorganization (as

modified, amended, or supplemented, the “Plan”) [Dkt. No. 79]. The Parties have since engaged

in good faith negotiations in connection with the Claims and the allowance thereof and wish to

enter into the Stipulation in connection therewith.

       IT IS THEREFORE AGREED, AND UPON BANKRUPTCY COURT APPROVAL

HEREOF, IT IS HEREBY ORDERED AS FOLLOWS:

       1.      Recitals Incorporated. The recitals and precatory phrases and paragraphs set forth

above are hereby incorporated in full and made a part of this Stipulation.



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         2.     Approval of Stipulation. This Stipulation between the Parties is subject in all

respects to the approval of the Court evidenced by the “So Ordering” of this Stipulation.

         3.     Termination of Receivership. The parties stipulate that the Receiver ceased

acting in any statutory capacity with respect to the estate on the Petition Date pursuant to Section

543 of the Bankruptcy Code.

         4.     Allowance of Claims. Claim No. 3 shall be, and hereby is, deemed withdrawn by

the Receiver. Claim No. 8 shall be allowed in the aggregate amount of $30,000.00 (the “Allowed

Claim”), subject to confirmation of the Plan, which shall provide for the allowance of Claim No.

8 in the foregoing amount. For the avoidance of doubt, nothing herein shall, or be deemed to,

reduce, expunge, or otherwise impair the Vitra Claim, including without limitation, that portion of

the Vitra Claim arising from the Assignment of Judgment asserted in Claim No. 3; provided,

however, that the Debtor reserves all of its rights to object to, or settle, all or a portion of the Vitra

Claim.

         5.     Mutual Release. Upon the payment of the Allowed Claim in accordance with the

Plan, and subject to the terms of the Plan, (i) the Debtor shall release all claims against the

Receiver; and (ii) the Receiver shall release any and all claims against the Debtor and any of its

affiliates, related parties, successors and assignees, general partners, advisors, directors, officers,

representatives, agents and employees. For the avoidance of doubt, the foregoing waiver shall not

apply to the amount of the judgment asserted by Claim No. 3 that was assigned to Vitra and

subsequently asserted in the Vitra Claim.

         6.     Acknowledgements. Each Party acknowledges that it has read and understands

this Stipulation and that it has had the opportunity to consult with its attorneys before signing this

Stipulation.



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        7.       Entire Agreement; Modification.           This Stipulation constitutes the entire

agreement between the Parties and overrides and replaces all prior negotiations and terms proposed

or discussed, whether in writing or orally, about the subject matter hereof. No modification of this

Stipulation shall be valid unless it is in writing identified as an amendment to the Stipulation and

is signed by all Parties hereto.

        8.       Governing Law. This Stipulation is governed by and shall be construed in

accordance with the laws of the State of New York (or United States federal law, to the extent

applicable), including any applicable statutes of limitation, without regard to any otherwise

applicable principles of conflicts of law or choice of law rules (whether of the State of New York

or any other jurisdiction) that would result in the application of the substantive or procedural rules

or law of any other jurisdiction.

        9.       Negotiated Treatment. The Parties acknowledge that each Party has cooperated

in the drafting of this Stipulation. The language in all parts of this Stipulation shall be in all cases

construed according to its fair meaning and not strictly for or against any Party.

        10.      No Admission of Liability. This Stipulation shall not in any manner be construed

as determinative of the issues raised by the Debtor and the Receiver and shall have no precedential

value. It is understood and agreed that any actions taken or payments made pursuant to this

Stipulation are made solely to avoid the expense of litigation. This Stipulation and the actions

taken pursuant hereto are not to be construed as constituting any determination of the merits of

any claims or as constituting any admission of wrongdoing or liability on the part of the Receiver

or the Debtor.

        11.      Bankruptcy Court Jurisdiction. The Bankruptcy Court shall retain jurisdiction

to hear any disputes regarding this Stipulation. Nothing herein shall be deemed a waiver of the



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Court’s authority to hear disputes raised by this Stipulation or otherwise with respect to the Claims.

       12.     Fees and Costs. Each Party shall bear its own costs and expenses, including any

and all legal fees, incurred in connection with this Stipulation and the Claims.

       13.     Counterparts.       This Stipulation may be executed in multiple counterparts

(including via facsimile or electronic mail), each of which shall be deemed an original but all of

which together shall constitute one and the same instrument.




Dated: November 18, 2021
New York, New York

MORRISON COHEN LLP                               GLENN AGRE BERGMAN & FUENTES LLP

By: /s/ Joseph T. Moldovan                       By: /s/ Andrew K. Glenn
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                                                         rramirez@glennagre.com
                                                         nrahman@glennagre.com

                                                 Counsel to the Debtor


SO ORDERED

Dated: ____________, 2021                      _________________________________________
       New York, New York                      HONORABLE SEAN H. LANE
                                               UNITED STATES BANKRUPTCY JUDGE




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